                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DIVISION
                                     No. 7:23-CV-897



    IN RE:                                                    PLAINTIFFS’ MASTER COMPLAINT

    CAMP LEJEUNE WATER LITIGATION                                         Jury Trial Demanded

    This Document Relates to:

    ALL CASES


I.         INTRODUCTION

           1.       This Complaint arises under the Camp Lejeune Justice Act of 2022 (“CLJA”)1 and

is filed pursuant to the provisions of Section VI of the September 26, 2023, Case Management

Order No. 2 (ECF No. 23), for adoption by reference to individual CLJA actions and in conjunction

with the Court-approved Short Form Complaint.

           2.       Marine Corps Base Camp Lejeune (“Camp Lejeune”) is a military base operated

by the United States, located outside of Jacksonville, in Onslow County, North Carolina. The base

is located on the coast of the Atlantic Ocean, with approximately 11 miles of usable shoreline, and

occupying approximately 156,000 acres (244 square miles) in total. Camp Lejeune supports a

current population of approximately 170,000 people.

           3.       The story of Camp Lejeune has been described by scientists as the worst public

drinking water contamination crisis in our nation’s history.

           4.       At this point in time, it is undisputed and well-documented that, between at least

1953 and 1987, Camp Lejeune provided contaminated water to those on base. It is estimated that



1
    Pub. L. No. 117–168, title VIII, § 804 (2022) (one section under the broader “Honoring our PACT Act of 2022”).

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as many as one million people may have been exposed to this water, including service members,

civilian staff, and their respective families and dependents.

        5.       During this timeframe, contaminant levels in finished water—such as the water

coming out of taps in housing, buildings, elementary schools, and hospital wards—reached at least

280 times higher than what the Environmental Protection Agency (“EPA”) today considers safe.2

        6.       The list of diseases, illnesses, injuries, and conditions connected to the

contaminants in Camp Lejeune’s water supply is long and grave, including but not limited to:

leukemia, non-Hodgkin’s lymphoma, bladder cancer, kidney cancer, lung cancer, esophageal

cancer, breast cancer, Parkinson’s Disease, female infertility, miscarriages, and more. Many of

these diseases, illnesses, injuries, and conditions have been acknowledged by the United States as

causally connected to the contaminants at Camp Lejeune.3

        7.       The handling of this issue by the United States reveals a disregard for internal

military water quality standards, a failure to respond to the contamination, the ignoring of warnings

of the risk of contamination coupled with repeated test results showing that contamination was

present, and the withholding of information from even Defendant’s own scientists initially

investigating the crisis.

        8.       As a result, scientists attempting to identify the true scale of contamination were

misled for decades, resulting in a loss of contemporaneous investigatory ability, and requiring

water modeling to retroactively calculate contamination levels.



2
  See William R. Levesque, Veterans Dep’t, St. Lawrence Cnty., Camp Lejeune Water Contamination History (Oct.
18, 2009), https://stlawco.org/Departments/Veterans/CampLejeuneWaterContaminationHistory (last visited Jun. 27,
2023).
3
  See, e.g., Agency for Toxic Substances and Disease Registry (ATSDR), Ctrs. for Disease Control and Prevention,
Dep’t of Health and Hum. Servs., ATSDR Assessment of the Evidence for the Drinking Water Contaminants at Camp
Lejeune and Specific Cancers and Other Diseases 13 (Jan. 13, 2017) (“ATSDR Evidence Assessment”), available at
https://www.atsdr.cdc.gov/sites/lejeune/docs/ATSDR_summary_of_the_evidence_for_causality_TCE_PCE_508.pdf
(last visited Jun. 27, 2023).

                                                       2
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       9.      On August 10, 2022, the CLJA was signed into law. After many years of having no

legal recourse, the thousands of people seeking justice for their injuries and for deaths caused by

the contaminated water at or from Camp Lejeune were now able to file administrative claims

seeking compensation.

       10.     Importantly, the requirements to prevail on an action under the CLJA exclude any

obligation that the claimants prove negligence or fault. The CLJA specifies the requirements

claimants must satisfy as showing harm and a sufficient causal connection between that harm and

the contaminants at Camp Lejeune, waiving any obligation to prove that the United States owed

or breached a duty to those affected.

       11.     Moreover, as to causation, claimants need only satisfy an equipoise standard,

showing that such a causal relationship is at least as likely as not.

       12.     Upon information and belief, as of the date of filing, the vast majority of the

administrative claims submitted under the CLJA have not received a response.

       13.     This is the position from which Plaintiffs bring their actions. After being exposed

to contaminated water at or from Camp Lejeune, Plaintiffs suffered severe diseases, illnesses,

injuries, and conditions, leading to death in many cases. Those who had been injured or died were

misled for decades to believe that these injuries were not connected to the contaminated water at

or from Camp Lejeune. Then, after this connection was later admitted, Plaintiffs were told that

they were barred from any legal recourse, even as more and more details came to light about the

ongoing disregard for water safety that led to the problem. Those who had been exposed were left

abandoned until the CLJA was passed. Now, after seeking compensation through an administrative

claim, Plaintiffs have not had their claims resolved through the administrative claims process and

thus seek recourse through the instant lawsuits under the CLJA.



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II.      NATURE OF THIS MASTER COMPLAINT

         14.   Each individual Plaintiff brings or will bring their own individual action through

an individual complaint, including Short Form Complaints. This Master Complaint sets forth

common allegations of fact and law applicable to all Plaintiffs who adopt these allegations by

filing individual Short Form Complaints by the relevant deadlines set by the CLJA and this Court.

This Master Complaint is meant to be read in concert with the individual Short Form Complaints

and does not include individualized allegations about each Plaintiff’s experiences. For any given

Plaintiff who adopts the Master Complaint’s allegations, the totality of that Plaintiff’s allegations

includes both the common allegations of the Master Complaint plus the individual allegations in

that Plaintiff’s Short Form Complaint.

         15.   This Master Complaint does not constitute a waiver or dismissal of any actions or

claims asserted in any individual complaints, nor does it waive any Plaintiff’s rights, including

their right to amend their individual complaints.

III.     JURISDICTION, VENUE, AND CONDITIONS PRECEDENT

         16.   The CLJA creates a “federal cause of action relating to water at Camp Lejeune,

North Carolina.” Thus, pursuant to the CLJA, the United States has waived its sovereign immunity

and has authorized the instant lawsuit.

         17.   CLJA Section 804(d) provides that the “United States District Court for the Eastern

District of North Carolina shall have exclusive jurisdiction over any [CLJA action] and shall be

the exclusive venue for such an action.” Thus, both jurisdiction and venue are proper before this

Court.

         18.   Plaintiffs have each filed administrative claims with the Department of the Navy

addressing the issues raised in this Master Complaint no less than six months prior to their filing



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of an individual complaint. Plaintiffs’ claim numbers are unavailable because the Department of

the Navy has not yet assigned claim numbers. Plaintiffs’ administrative claims have either (a)

received a final denial or (b) been deemed a final denial because six months have passed since the

claims were filed with the Department of the Navy and they remain without a final disposition.

The conditions precedent required by 28 U.S.C. § 2675 and CLJA § 804(h) are satisfied.

IV.    PARTIES

       19.     Plaintiffs are individuals—including present and former Marines and other military

service members, civilian employees, and family members or guests of former service members

or civilian employees—who resided, worked, or were otherwise exposed to water contamination

at or from Camp Lejeune for not less than 30 days during the period between August 1, 1953, and

December 31, 1987. At all times Plaintiffs resided, worked, or were otherwise exposed to water

contamination at or from Camp Lejeune. Plaintiffs’ claims may in certain instances be brought by

authorized legal representatives on their behalf.

       20.     Defendant, United States of America (“United States”), owned, operated, and

managed Camp Lejeune at all relevant times, by and through its Department of the Navy (“Navy”)

and the Navy’s component, the United States Marine Corps (“Marine Corps”). Congress, through

the CLJA, has recognized that Defendant United States should provide compensation for those

who were harmed by exposure to the contaminated water at Camp Lejeune.

       21.     The Navy and the Marine Corps are branches of the United States military. The

United States is responsible for both branches and all related facilities, including Camp Lejeune.

V.     FACTUAL ALLEGATIONS

       22.     In 1941, Congress authorized funding for the project and construction of the base

began. Between 1941 and 1943, Camp Lejeune underwent massive construction and expansion.



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In 1942, the base was named Marine Barracks Camp Lejeune, and renamed Marine Corps Base

Camp Lejeune in 1944. It has played a significant role in United States military operations ever

since. Yet, despite its immeasurable contributions, the United States allowed these Marines and

service members—along with their families and others who lived or worked at or near Camp

Lejeune—to be poisoned for decades through the water provided on base.

    A.         BACKGROUND INFORMATION

         23.     At all relevant times, Camp Lejeune was divided into various water distribution

systems. It is important to distinguish these areas to understand where the contamination and

exposure occurred. The relevant water distribution systems included Hadnot Point, Holcomb

Boulevard, and Tarawa Terrace. These water distribution systems are identified on the map below

(“Area Map”).4




4
 U.S. Marine Corps, Camp Lejeune Drinking Water System Service Areas, https://clnr.hqi.usmc.mil/clwater/pages/
map.aspx (last visited Jun. 26, 2023).

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        24.      Each of these water distribution systems received water from its individual water

treatment plant. A conceptual representation of the flow of water within each water distribution

system is provided below.5 Untreated water flows from a number of wells in each water

distribution system to that area’s water treatment plant, where the water is filtered and treated.

Water that has undergone filtration and treatment at the treatment station (“finished water”) then

flows to a reservoir, where it waits until it is needed, at which point it flows to the base facility for

delivery.




        25.      The water treatment plants employed “a lime softening process, using a catalytic

precipitation lime contact tank and pressure filters.”6 This process is ineffective for removing

volatile organic compounds (“VOCs”)—a category which includes each of the primary

contaminants detected in Camp Lejeune water—allowing them to pass through the water treatment

plant into the reservoir, and flow through the system to the point of delivery.

5
  U.S. Marine Corps, Camp Lejeune Water System, https://clnr.hqi.usmc.mil/clwater/pages/WaterSystem.aspx (last
visited Jun. 27, 2023).
6
  Study of Two Water Plants, Tarawa Terrace – Montford Point (April 1979), at 1, available at https://tftptf.com/CLW_
Docs/CLW0188.pdf (last visited Jun. 27, 2023).

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        26.      The following map (“Well Map”) shows the locations of certain supply wells within

the Hadnot Point, Holcomb Boulevard, and Tarawa Terrace water distribution systems.7 It also

highlights three of the primary contamination sources: the Hadnot Point Industrial Area, the

Hadnot Point Landfill Area, and ABC One-Hour Cleaners.




7
  Morris L. Maslia et al., Reconstructing Historical VOC Concentrations in Drinking Water for Epidemiological
Studies at a U.S. Military Base: Summary of Results, 8 Water 449 (2016), available at https://pubmed.ncbi.nlm.nih.
gov/28868161/#&gid=article-figures&pid=figure-1-uid-0 (last visited Jun. 27, 2023).

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           27.   There were times when the demand in one water distribution system exceeded the

supply from its wells. During these times, water from one water distribution system’s reservoir

would be pumped to another water distribution system to fill the need.

           28.   Base facilities could receive contaminated water in one of two ways. First, if a

source well in its water distribution system was contaminated, that water would be mixed with the

water from all other wells in its water distribution system whenever it was in use, leading to all

finished water in the system’s reservoir being contaminated. Second, even if no source wells within

the immediate water distribution system were contaminated, if the water distribution system drew

supplemental finished water from a water distribution system that did have contaminated wells,

that contaminated finished water would also be delivered in the supplemented water distribution

system.

           29.   A number of contaminants have been detected in the Camp Lejeune water supply.

The five that have been identified to date as the most harmful and widespread are all classified as

volatile     organic   compounds:   tetrachloroethylene    (“PCE”),    trichloroethylene   (“TCE”),

dichloroethylene (“DCE”), vinyl chloride, and benzene.

           30.   Today, the EPA regulates the maximum contaminant levels (“MCL”) for each of

these five contaminants. The MCL indicates the level of exposure at which there are no known or

anticipated adverse health effects. When individuals are exposed to these contaminants at levels

that exceed these MCLs, it is understood that there is a risk of adverse health effects.




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        31.      Units of parts-per-billion (“ppb”) are used in measuring water contamination. A

measurement of 1 ppb means that among a sample of 1 billion particles, 1 particle of the measured

substance is present. 1 ppb is equal to 1 microgram-per-liter (“µg/L”). 1,000 ppb (or 1,000 µg/L)

is equal to 1 part-per-million (“ppm”) or 1 milligram-per-liter (“mg/L”).8




        32.      The current EPA MCL for PCE is 5 ppb. Finished water at Camp Lejeune reached

at least 215 ppb of PCE.

        33.      The current EPA MCL for TCE is 5 ppb. Finished water at Camp Lejeune reached

at least 1,400 ppb of TCE.

        34.      The current EPA MCL for DCE is 7 ppb. Finished water at Camp Lejeune reached

at least 406 ppb of DCE.

        35.      The current EPA MCL for vinyl chloride is 2 ppb. Finished water at Camp Lejeune

reached at least 2.9 ppb of vinyl chloride.

        36.      The current EPA MCL for benzene is 5 ppb. Finished water at Camp Lejeune

reached at least 2,500 ppb of benzene.


8
  Okla. Dep’t Env’t Quality, Test Result Interpretation, https://www.deq.ok.gov/state-environmental-laboratory-
services/technical-assistance/test-result-interpretation/ (last visited Jun. 27, 2023).

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       1.         HADNOT POINT

       37.        Hadnot Point is the southernmost highlighted area on both the Area Map and the

Well Map, located below Holcomb Boulevard, and Tarawa Terrace.

       38.        Much of the infrastructure of Hadnot Point was built during the early construction

of Camp Lejeune in 1941. This included the Hadnot Point Water Treatment Plant, as well as many

of the source wells.

       39.        The Hadnot Point Fuel Farm was also constructed in 1941, comprised of one

600,000-gallon aboveground tank, six 12,000-gallon underground tanks, and eight 15,000-gallon

underground tanks. In total, these tanks held up to 792,000 gallons of fuel.

       40.        The Hadnot Point Fuel Farm was built in close proximity to important supply wells

which provided water to the Hadnot Point Water Treatment Plant. In particular, the fuel farm was

a mere 1,200 feet from supply well HP-602.

       41.        In 1972, supply well HP-651 was installed adjacent to the defense property disposal

compound (labeled “Hadnot Point Landfill Area” in the Well Map above), which had been

functioning as a junkyard and solvent disposal area for decades.

       42.        At all relevant times, Hadnot Point has been one of the primary housing areas on

base, containing a majority of the barracks for unmarried military personnel. The Hadnot Point

water distribution system includes Hospital Point housing, French Creek barracks, and Hadnot

Point barracks.

       43.        In addition, Hadnot Point provided water to all of Holcomb Boulevard until the

Holcomb Boulevard water distribution system was established in or about June of 1972. This

included Midway Park housing, Paradise Point general officer housing, Paradise Point two-story




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housing, Paradise Point cracker box housing, Paradise Point Cape Cod housing, Paradise Point

Capehart housing, Watkins Village housing, and Berkeley Manor housing.

        44.     Hadnot Point also contained the Hadnot Point Industrial Area, which included the

Hadnot Point Fuel Farm and major maintenance facilities. When Camp Lejeune first came under

scrutiny, the United States disclosed a fuel leak here of 20,000 to 30,000 gallons in 1979. It was

later revealed that upwards of approximately 1.1 million gallons of fuel were lost into the soil at

Hadnot Point Fuel Farm, with an average of more than 20,000 gallons per year.

        45.     Hadnot Point also included a number of other areas believed to have contributed to

groundwater contamination, such as the base dump, which included a dump for chemical drums,

a liquid-disposal dumping area, a former burn dump, a fuel tank sludge dumping area, an industrial

fly-ash dump, a transformer storage lot, an open storage pit, and a junkyard. Also, Hadnot Point

had a former fire training area and a former on-base dry-cleaning service.

        46.     Hadnot Point was also one of many locations on the base where marines used TCE

(at the instruction of the United States) as a degreaser to remove grease, oils, and waxes from all

variety of metal equipment and vehicles.

        47.     In 1980, a U.S. Army Lab conducted testing on water samples from Hadnot Point.

The Laboratory Services Chief included a handwritten note on the report stating “[w]ater is highly

contaminated with low molecular weight halogenated hydrocarbons.”9

        48.     In 1981, the same U.S. Army Lab sent a subsequent communication, with the

Laboratory Services Chief emphasizing in another handwritten note that “[w]ater is highly

contaminated with other chlorinated hydrocarbons (solvents)!”10


9
   TTHM Surveillance Report Form (Collected Oct. 21, 1980), available at https://tftptf.com/CLW_Docs/CLW
0436.pdf (last visited Jun. 27, 2023).
10
    TTHM Surveillance Report Form (Collected Feb. 26, 1981), available at https://tftptf.com/CLW_Docs/CLW
0443.pdf (last visited Jun. 27, 2023).

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        49.      In 1982, the United States retained Grainger Laboratories (“Grainger”) as a

consultant to study the water supply at Camp Lejeune. Grainger was not informed of the previous

testing and the elevated levels that had been detected.

        50.      In May of 1982, Grainger detected elevated levels of PCE and TCE in the water

supply at Hadnot Point.11 In particular, a sample taken from the Naval Hospital was found to

contain 1,400 ppb of TCE.

        51.      In at least July of 1982, December of 1982, and March of 1983, Grainger warned

relevant personnel that these contaminants required attention.

        52.      In July 1984, supply well HP-602 was sampled and found to contain 380 ppb of

benzene.

        53.      On November 30, 1984, supply well HP-602 was closed. A few days later, it was

sampled again and found to contain 121 ppb of benzene, 24 ppb of PCE, and 1,600 ppb of TCE.

        54.      In December of 1984, multiple wells in Hadnot Point were sampled again, and wells

601, 608, 634, and 637 were closed due to contamination.

        55.      On January 8, 1985, a communication noted that benzene is a highly volatile

compound which may not be detected in tests if there is a delay in analysis.12

        56.      On January 16, 1985, additional samples were taken of Hadnot Point wells.

        57.      In late January of 1985, Hadnot Point supplied water to the Holcomb Boulevard

water distribution system while the Holcomb Boulevard water treatment plant was offline.

        58.      On January 31, 1985, water samples were collected from locations throughout

Holcomb Boulevard, which was receiving water from Hadnot Point at the time. These samples



11
   See May 6, 1982, Call Notes, available at https://tftptf.com/CLW_Docs/CLW0542.pdf (last visited Jun. 27, 2023).
12
   See Volatile Organic Chemical Analysis Reports, at *2, available at https://tftptf.com/CLW_Docs/CLW5237.pdf
(last visited Aug. 28, 2023).

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contained high levels of TCE, revealing that Hadnot Point water was still contaminated. The

highest known reading, in a sample taken from an elementary school, was at 1,148.4 ppb.

        59.      On February 4, 1985, the Holcomb Boulevard water treatment plant was

reactivated, both the Holcomb Boulevard and Hadnot Point systems were flushed, and the results

of the January 16, 1985, samples were received. Hadnot Point supply well HP-651 was revealed

to contain 3,200 ppb of TCE. HP-651 was closed at this time and resampled.13

        60.      The results of this resampling were even higher: 18,900 ppb of TCE, 8,070 ppb of

DCE, 400 ppb of PCE, and 179 ppb of vinyl chloride.14

        61.      In the same series of samples, a February 5, 1985, sample from the Hadnot Point

water treatment plant was found to still contain 429 ppb of TCE, even though wells HP-602 and

HP-651 were both closed.15

        62.      On November 19, 1985, a water sample from the Hadnot Point water treatment

plant tested at 2,500 ppb of benzene.

        63.      Another water sample, on December 10, 1985, tested at 38 ppb of benzene.

        64.      A January 24, 1986, memorandum analyzing these results stated that “[w]hile the

periodic readings for Benzene are felt to be a quality control problem in sampling and/or laboratory

analysis, samples of each active raw water well for Hadnot Point was [sic] taken … last week.

Results are anticipated in early February.”16 Upon information and belief, these results are missing.

        65.      On January 13, supply well HP-645 was closed due to benzene contamination.17


13
   Feb. 26, 1985, Chronology prepared by Elizabeth Betz, available at https://tftptf.com/CLW_Docs/CLW4546.pdf
(last visited Aug. 27, 2023).
14
   Id.
15
   See Volatile Organic Chemical Analysis Reports, at *30, available at https://tftptf.com/CLW_Docs/CLW5237.pdf
(last visited Aug. 28, 2023).
16
    Analysis of Drinking Water Systems Aboard Camp Lejeune/MCAS, New River (Jan. 24, 1986), available at
https://tftptf.com/CLW_Docs/CLW1406.pdf (last visited Jun. 27, 2023).
17
    See Review of N.A.C.I.P. Program, Marine Corps Base, Camp Lejeune (Jan. 21, 1987), at *6, available at
https://tftptf.com/CLW_Docs/CLW4963.pdf (last visited Jun. 27, 2023).

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        66.      On February 5, 1987, a project was proposed to replace and relocate the leaking

Hadnot Point Fuel Farm, including a plan for temporary measures to be used while the project was

underway that would avoid continued use of the Hadnot Point Fuel Farm.18 As of May 18, 1988,

that project was still pending funding.

        67.      On March 29, 1988, a letter from a Marine Corps attorney urged the immediate

replacement of the fuel tanks at the Hadnot Point Fuel Farm, which were estimated to be leaking

approximately 1,500 gallons of fuel per month. This letter stated in part: “From an attorney’s

perspective, concerned with responding to potential litigation, it appears patently unreasonable to

wait until out-years to replace the tanks. Such delay will result in an indefensible waste of money,

and a continuing potential threat to human health and the environment.”19

        68.      A December 1988 study of the groundwater near the Hadnot Point Fuel Farm noted

several points of concern. In particular, it found a plume of contamination of up to 15 feet in

thickness and that the local geology consisted primarily of silty sand, meaning the contamination

was not confined to the local area.20

        69.      In or about 1990-91, the Hadnot Point Fuel Farm was replaced and closed.

        70.      The United States has since conceded that benzene levels in drinking water

exceeded safe levels for both children and adults from at least 1979 until 1984.21 However, the

later disclosure of the hidden information contained in the Navy’s UST archive, showing that an



18
   See Response to Documented Groundwater Contamination at Hadnot Point Fuel Farm (May 18, 1988), available
at https://tftptf.com/CLW_Docs/CLW1737.pdf (last visited Jun. 27, 2023).
19
    Construction Contract 89-B-2611, Temporary Fuel Farm (Aug. 9, 1989), at 33-34, available at
https://www.tftptf.com/CERCLA/00096.pdf (last visited Jun. 27, 2023).
20
   See Contaminated Ground Water Study, Marine Corps Base Camp Lejeune, N.C., Hadnot Point Area (December
1988), at 11, 14, available at https://www.tftptf.com/CERCLA/00417.pdf (last visited Jun. 27, 2023).
21
   See Agency for Toxic Substances and Disease Registry (ATSDR), Ctrs. for Disease Control and Prevention, Dep’t
of Health and Hum. Servs., Public Health Assessment for Camp Lejeune Drinking Water 9 (Jan. 20, 2017) (“ATSDR
2017 PHA”), available at https://www.atsdr.cdc.gov/HAC/pha/MarineCorpsBaseCampLejeune/Camp_Lejeune_
Drinking_Water_PHA(final)_%201-20-2017_508.pdf (last visited Jun. 27, 2023).

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average of more than 21,000 gallons of fuel were lost into the soil each year, suggests that benzene

contamination began much earlier.22

         71.     The United States has further conceded that, within the Hadnot Point water

distribution system, at least one volatile organic compound has exceeded its current EPA MCL at

all times between at least August 1953 and January 1985.23

         2.      HOLCOMB BOULEVARD

         72.     Holcomb Boulevard is the middle-highlighted area on both the Area Map and the

Well Map, located north of Hadnot Point and south of Tarawa Terrace.

         73.     During the relevant time period, finished water at Holcomb Boulevard had high

levels of contamination through 1972 by way of being served by the Hadnot Point water treatment

plant.

         74.     In 1972, the Holcomb Boulevard water distribution system was established. This

included the drilling of a number of new supply wells, as well as the construction of a new water

treatment plant and reservoirs for this water distribution system. However, from 1972 to 1987, the

Holcomb Boulevard water distribution system received supplemental water from Hadnot Point,

leading to continued contamination in Holcomb Boulevard finished water.

         75.     At all relevant times, Holcomb Boulevard has been one of the primary housing

areas on base. The Holcomb Boulevard water distribution system includes Midway Park housing,

Paradise Point general officer housing, Paradise Point two-story housing, Paradise Point cracker




22
    H.R. Rep. No. 111-108 (Sept. 16, 2010), at 6, available at https://www.govinfo.gov/content/pkg/CHRG-
111hhrg58485/pdf/CHRG-111hhrg58485.pdf (last visited Jun. 27, 2023).
23
   See Agency for Toxic Substances and Disease Registry (ATSDR), Ctrs. for Disease Control and Prevention, Dep’t
of Health and Hum. Servs., Camp Lejeune, Background (page last reviewed Jan. 16, 2014),
https://www.atsdr.cdc.gov/sites/lejeune/background.html (last visited Jun. 27, 2023).

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box housing, Paradise Point Cape Cod housing, Paradise Point Capehart housing, Watkins Village,

and Berkeley Manor housing.

        76.      Although the Holcomb Boulevard water distribution system (once opened) did not

have the significant sources of contamination that the Hadnot Point water distribution system did,

the Holcomb Boulevard water distribution system remained interconnected with the Hadnot Point

water distribution system, and raw or finished water could be and indeed was pumped from one

water distribution system to the other. This exchange was controlled by two isolation valves,

referred to as Booster Pump 742 and the Marston Pavilion Valve.

        77.      The United States has conceded that, during times when Hadnot Point water was

transferred to Holcomb Boulevard, TCE levels in Holcomb Boulevard finished water were

anywhere from two to twelve times the levels permitted by current EPA MCLs.24

        78.      In January of 1985, a gas line feeding a generator at the Holcomb Boulevard water

treatment plant leaked gasoline into the Holcomb Boulevard water system. As a result, the

Holcomb Boulevard water treatment plant was offline for nine days, during which time water from

Hadnot Point was pumped to the Holcomb Boulevard water distribution system. During this

period, finished water in housing areas throughout Holcomb Boulevard exceeded 50 ppb of TCE.25

This recorded instance is illustrative of the effect of distributing Hadnot Point water to Holcomb

Boulevard.




24
   See Agency for Toxic Substances and Disease Registry (ATSDR), Ctrs. for Disease Control and Prevention, Dep’t
of Health and Hum. Servs., Analyses and Historical Reconstruction of Groundwater Flow, Contaminant Fate
Transport, and Distribution of Drinking Water Within the Service Areas of the Hadnot Point and Holcomb Boulevard
Water Treatment Plants and Vicinities, U.S. Marine Corps Base Camp Lejeune, North Carolina, Chapter A: Summary
and Findings (March 2013) (“ATSDR Reconstruction”), at A67, available at https://www.atsdr.cdc.gov/sites/lejeune/
docs/chapter_A_hadnotpoint.pdf (last visited Jun. 27, 2023).
25
   ATSDR Reconstruction at A68.

                                                       17
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          79.     The official position of the United States is that occasions where Hadnot Point

water was pumped to Holcomb Boulevard were infrequent.26 The estimates put forth by the United

States as to the frequency of this exchange, as well as the derivative reconstructed estimates of

contamination levels at Holcomb Boulevard, are based upon review of incomplete water utility

logbooks from Booster Pump 742 and Marston Pavilion. The United States concedes that the

“valve openings are only partially documented.”27

          80.     The treated water from the Holcomb Boulevard water treatment plant was used to

water the greenery on two base golf courses, routinely drawing 300,000 to 500,000 gallons of

water per day. This resulted in frequent shortages of treated water in the Holcomb Boulevard water

distribution system, requiring supplemental treated water from Hadnot Point.

          81.     Upon information and belief, the Marston Pavilion valve was regularly activated.

          82.     Some or all of the relevant logbooks and documents related to the operation of the

control valves at Marston Pavilion and Booster Pump 742 are missing.

          83.     As demonstrated by the 1,148.4 ppb TCE reading at the Berkley Manor Elementary

school on February 7, 1985, at the times when this exchange was activated and Hadnot Point water

was provided to Holcomb Boulevard, Holcomb Boulevard residents were exposed to high levels

of contamination.

          3.      TARAWA TERRACE

          84.     Tarawa Terrace is the northeastern region on the Area Map, and the northern region

on the Well Map, north of Holcomb Boulevard, and east of Camp Johnson.




26
     ATSDR Reconstruction at A13.
27
     ATSDR Reconstruction at A64.

                                                  18
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       85.     In 1952, construction was completed on a new Camp Lejeune subdivision named

Tarawa Terrace. This subdivision included its own water treatment plant and water distribution

system.

       86.     Three of the initial supply wells providing water to Tarawa Terrace were

constructed down gradient from dry cleaning businesses, car repair shops, and gas stations.

       87.     In 1952, supply well TT-26 was constructed at the very edge of the Camp Lejeune

property line, along Lejeune Boulevard. At the time of construction, this was already down-

gradient from Glamorama dry cleaners, car repair shops, and gas stations. Nevertheless, the well

was drilled to a depth of only 95 feet. It is unknown why this well was not drilled deeper, despite

the average well on Camp Lejeune being approximately 180 feet.

       88.     In 1953, ABC One Hour Dry Cleaner (“ABC”) began operating across Lejeune

Boulevard from well TT-26, only 900 feet away. Once it began operating, ABC used

approximately 110-165 gallons of PCE per month. The PCE used by ABC generated two types of

waste: solid and liquid.

       89.     The liquid PCE waste, contained in wastewater, was disposed of through a soil

absorption septic tank. In other words, it was dumped into the ground approximately 900 feet from

well TT-26.

       90.     The solid PCE waste was used to fill potholes, or otherwise disposed of in the

ground behind the building of ABC, where rainwater caused additional PCE to leach into the soil,

approximately 900 feet from well TT-26.




                                                19
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        91.     The United States has conceded that estimated PCE levels were above current

MCLs from at least November of 1957 until January of 1985.28

        92.     Following the January 1985 generator fuel line leak at the Holcomb Boulevard

water treatment plant, additional testing was also conducted at Tarawa Terrace. Supply well TT-

26 was found to contain 1,580 ppb of PCE, as well as 57 ppb of TCE, 92 ppb of DCE, and 27 ppb

of vinyl chloride. In addition, supply well TT-23 was found to contain 132 ppb of PCE, 5.8 ppb of

TCE, and 11 ppb of DCE.

        93.     Both wells were shut off on February 8, 1985.

        94.     Yet, one or more of these contaminated wells were reactivated in times of water

supply shortage until the Tarawa Terrace water treatment plant was closed in March of 1987. A

memorandum discussing this decision noted that “the potential health hazards must be weighed

against the need and cost of providing water from other sources.”29

        95.     The United States has conceded that estimated PCE levels remained elevated until

the Tarawa Terrace water treatment plant was closed in March of 1987, exceeding current MCLs

in all but two months.30

        96.     The Tarawa Terrace water distribution system and the Camp Johnson water

distribution system were “joined together” and capable of exchanging water.31




28
    ATSDR Reconstruction App’x A2 at A83-A93, available at https://www.atsdr.cdc.gov/sites/lejeune/docs/Re
constructed%20TTWTP%20Concentrations_ATSDR_Chapter%20A%20Report_Camp%20Lejeune.pdf (last visited
Jun. 27, 2023).
29
     Alternatives for Providing Water to the Tarawa Terrace Area (Mar. 1, 1985), available at
https://tftptf.com/CLW_Docs/CLW1129.pdf (last visited Jun. 27, 2023).
30
    ATSDR Reconstruction App’x A2 at A93, available at https://www.atsdr.cdc.gov/sites/lejeune/docs/Re
constructed%20TTWTP%20Concentrations_ATSDR_Chapter%20A%20Report_Camp%20Lejeune.pdf (last visited
Jun. 27, 2023).
31
   Inadequate Raw Water Supply at Tarawa Terrace and Camp Johnson (Mar. 30, 1983), available at https://tftptf
.com/CLW_Docs/CLW0707.pdf (last visited Jun. 27, 2023).

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        97.      The Tarawa Terrace water distribution system and Camp Johnson water

distribution system were interconnected enough to jointly supply water to the Knox Trailer Park.

        98.      Upon information and belief, contaminated water may have also been present

within the Camp Johnson water distribution system during the relevant time period.

        4.       WATER BUFFALOES

        99.      In the military context, a water buffalo refers to a portable water tank, typically a

400-gallon tank mounted on a towable trailer, used for storing and transporting water.

        100.     Upon information and belief, during field training exercises, the Marine Corps

routinely uses water buffaloes, including during all relevant times at Camp Lejeune. By using

water buffaloes, service members at Camp Lejeune were able to leave the main areas of the base

to conduct field training exercises away from water supplies, relying on the water buffaloes to

supply water throughout the training.

        101.     Upon information and belief, service members at Camp Lejeune were typically

spending an average of three days per week engaged in such field training exercises.32

        102.     Upon information and belief, these trainings were often for extended periods of

time, lasting for several hours or more. Throughout the duration of these trainings, the water

buffaloes were the primary source of drinking water for all participants.

        103.     The United States has conceded that water buffaloes filled with Hadnot Point water

provided contaminated drinking water to service members during trainings.33




32
   Agency for Toxic Substances and Disease Registry (ATSDR), Ctrs. for Disease Control and Prevention, Dep’t of
Health and Hum. Servs., Twenty-Seventh Meeting of Camp Lejeune Community Assistance Panel (CAP) Meeting
Transcript (Apr. 4, 2014), at 64, available at https://www.atsdr.cdc.gov/sites/lejeune/docs/transcript-4_14.pdf (last
visited Jun. 27, 2023).
33
   Agency for Toxic Substances and Disease Registry (ATSDR), Ctrs. for Disease Control and Prevention, Dep’t of
Health and Hum. Servs., Camp Lejeune Public Meeting (9-19-2020) – Q&A, at *42, available at https://www.
atsdr.cdc.gov/sites/lejeune/docs/transcripts/CAP-Public-meeting-QA-Sept-2020-508.pdf (last visited Jun. 27, 2023).

                                                        21
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        104.    Upon information and belief, at all relevant times, contaminated water from the

Hadnot Point water distribution system and/or other contaminated sources was used to fill water

buffaloes routinely used for field training exercises conducted throughout the base.34 This included

at least all regions on the east side of the New River, including Camp Johnson, Tarawa Terrace,

Paradise Point, Holcomb Boulevard, Hadnot Point, Courthouse Bay, Onslow Beach, and the

broader Camp Lejeune Military Reservation. Moreover, this potentially included regions on the

west side of the New River, including Camp Geiger, Stone Bay, and Marine Corps Air Station

New River.

        105.    Further, upon information and belief, water buffaloes filled with contaminated

water from the Hadnot Point water distribution system and/or other contaminated sources were

also used for extended field training exercises conducted outside of Camp Lejeune, including at

Marine Corps Auxiliary Field Bogue, also known as Bogue Field.

        106.    Upon information and belief, water from Hadnot Point contaminated with PCE,

TCE, DCE, vinyl chloride, and benzene was provided to Marines and other service members from

all over the base who conducted field training exercises at any of the above-referenced locations.

        107.    Upon information and belief, virtually all Marines and other service members who

engaged in field training at Camp Lejeune did so at least in part on the east side of the New River,

including those attending recruit training or infantry training at Camp Geiger.

        108.    Upon information and belief, during warm weather, water buffaloes were also

placed in many locations around the base to provide easy access to water and encourage hydration,




34
   See id.; see also Agency for Toxic Substances and Disease Registry (ATSDR), Ctrs. for Disease Control and
Prevention, Dep’t of Health and Hum. Servs., Twenty-Sixth Meeting of Camp Lejeune Community Assistance Panel
(CAP) Meeting Transcript (Sep. 6, 2013), at 101, available at https://www.atsdr.cdc.gov/sites/lejeune/docs/CAP
transcript_9_13.pdf (last visited Jun. 27, 2023).

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many or all of which were filled using contaminated water from the Hadnot Point water

distribution system and/or other contaminated sources.

        109.     The United States has conceded that “we assume that everybody at [Camp] Lejeune

had some exposure because even if you didn’t live in a residence on base that received

contaminated water, you did visit the main side, you did train, you drank [from] the water buffaloes

that were served – provided by Hadnot Point water, so on and so forth. So everyone was

exposed[.]”35

        110.     During the relevant time period, people living or working at Camp Lejeune were

exposed to the contaminated water through a number of cumulative exposure pathways. These

included drinking, showering, bathing, toiletry, swimming, food preparation, dishwashing,

laundry, inhalation from volatilization (i.e., one or more of the chemicals can turn into a gas at

room temperature), inhalation from vapor intrusion from groundwater through soil, and more.

Harmful exposure could and did occur through ingestion, inhalation, and dermal contact.

        111.     Moreover, marines in training drink water and shower more than most people. The

United States has recognized that “[a] marine in training at Camp Lejeune consumes an estimated

6 liters of water per day for three days per week and 3 liters per day the rest of the week. Under

warm weather conditions, a marine may consume between 1 and 2 quarts of water per hour and

shower twice a day. It is likely that during training, the water supplied in the field came from the

Hadnot Point water system with both measured and estimated levels of TCE and PCE substantially

higher than their MCLs.”36




35
   Agency for Toxic Substances and Disease Registry (ATSDR), Ctrs. for Disease Control and Prevention, Dep’t of
Health and Hum. Servs., Forty-Second Meeting of Camp Lejeune Community Assistance Panel (CAP) Meeting
Transcript (Apr. 24, 2019), available at https://www.atsdr.cdc.gov/sites/lejeune/docs/transcripts/cap_april_2019_
508.pdf (last visited Jun. 27, 2023).
36
   ATSDR Evidence Assessment at 3.

                                                       23
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       5.      ADDITIONAL WATER CONTAMINATION FACTS

       112.    The United States played a significant role in causing and allowing the continuance

of the water contamination at Camp Lejeune, including its efforts to conceal the presence and

extent of the contamination.

       113.    In 1948, a study conducted by the American Petroleum Institute concluded that the

only safe concentration for benzene is zero.37

       114.    Placing and operating a major supply well (HP-602) only 1,200 ft—less than a

quarter mile—from the base’s primary fuel depot risked contaminating the water supply.

       115.    Placing and operating a major supply well (TT-26) only 900 ft—just over an eighth

of a mile—down-gradient from a business which dumped chemicals into the ground risked

contaminating the water supply.

       116.    Placing and operating a major supply well (HP-651) adjacent to a base dump,

including a junkyard, both of which housed metal waste exposed to metal degreasers containing

TCE, risked contaminating the water supply.

       117.    A 1958 study conducted by a government contractor (Legrand) concluded that the

wells used at Camp Lejeune would require frequent maintenance inspections and repairs. These

inspections and repairs were not completed.

       118.    A 1959 study by Legrand found that the aquifer beneath Camp Lejeune was not

well-protected from surface contamination because the layers of clay, which can serve as a barrier

to restrict the movement of contaminants, were thin and not continuous. No changes were made to

reduce this risk or monitor for the predicted contamination.




37
   See Am. Petroleum Inst., API Toxicological Review, Benzene 4 (Sept. 1948), available at https://fix
ourfuel.com/wp-content/uploads/2016/05/API-Benzene-Toxicology-Review-2.pdf (last visited Jun. 27, 2023).

                                                  24
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        119.     Also in 1959, the Navy’s Bureau of Medicine and Surgery (“BUMED”) issued

instruction 6240.3A, regarding Navy standards for potable water. Among other things, instruction

6240.3A recognized that “irregularity in quality is an indication of potential danger.”38 Thus, by

at least 1959, the United States understood that water samples showing contamination cannot be

disregarded because the contamination levels are irregular.

        120.     In 1963, BUMED issued NAVMED P-5010-5, governing potable water at onshore

Navy facilities such as Camp Lejeune. It was recognized in the document that “well waters

obtained from aquifers beneath impervious strata . . . are usually considered sufficiently protected

to preclude need for purification,” highlighting by contrast that the Camp Lejeune aquifer’s thin

and discontinuous clay layers left the water supply under-protected. This document recognized

that carbon chloroform extract (“CCE”) tests were a practical measure of water quality at the time,

and that “water supplies containing over 200 micrograms CCE/1 of water represent an exceptional

and unwarranted dosage of the water consumer with ill-defined chemicals.” Moreover, it further

directed that water sampling be conducted once per year on finished water, the primary supply of

raw water, and raw water from each supply well39 during the relevant time period.

        121.     Later in 1963, BUMED issued instruction 6240.3B. This new regulation prohibited

not only substances known to be toxic, but also substances for which the physiological effects

were unknown, from being permitted to reach the water consumers.40

        122.     In 1972, BUMED issued instruction 6240.3C. This document reduced the total

allowable detection under a CCE test from 200 ppb to 150 ppb. It also provided that a detection of


38
   Bureau of Med. & Surgery, Dep’t of the Navy, BUMED Instruction 6240.3A (Dec. 24, 1959), at 2, available at
https://tftptf.com/CLW_Docs/BUMED62403A.pdf (last visited Aug. 9, 2023).
39
   Bureau of Med. & Surgery, Dep’t of the Navy, Manual of Naval Preventive Med., Chapter 5: Water Supply Ashore
(Aug. 1963), at 14, 32, 40, available at https://www.tftptf.com/New_ATSDR1/NAVMED_P-5010-5_1963.pdf (last
visited Aug. 9, 2023).
40
   Bureau of Med. & Surgery, Dep’t of the Navy, BUMED Instruction 6240.3B (Sept. 30, 1963), at 3, available at
https://tftptf.com/CLW_Docs/BUMED62403B.pdf (last visited Aug. 9, 2023).

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only 3 to 100 ppb of chlorinated hydrocarbons constituted grounds for rejection of the water

supply. During the relevant time, contaminants of concern at Camp Lejeune included chlorinated

hydrocarbons, which were often found in concentrations exceeding the established range.

        123.     In 1977, a government contractor (SCS Engineers) prepared a report for the Atlantic

Division Naval Facilities Engineering Command (“LantNavFacEngCom”) on an oil pollution

survey at Camp Lejeune conducted in 1976. Upon information and belief, the United States has

refused to release the uncensored version of this report to this day.

        124.     Also in 1977, a government contractor (Southern Testing and Research

Laboratories) was retained by Camp Lejeune to test water for four chlorinated hydrocarbons and

two herbicides.

        125.     On February 28, 1978, in a letter to Charles Rundgren of the North Carolina

Division of Health Services, the United States committed to submit all monitoring data, operational

logs, and special analyses concerning Marine Corps activities within the state. This commitment

was not maintained.41

        126.     In 1979, a government contractor (Henry Von Oesen and Associates) conducted a

study of the Tarawa Terrace water treatment plant. Observations included that “[s]erious operating

problems have been experienced at Tawara Terrace due to inability to properly control the process,

including cementing of filter sands, structural damage to the filter bed supports, and short filter

runs.”42 In addition, the report findings confirmed that “filter backwash [was] discharged into the

storm drainage system without treatment.”43




41
    Letter from J.G. Leech to Charles E. Rundgren (Feb. 28, 1978), available at https://tftptf.com/CLW_Docs/
CLW0176.pdf (last visited Aug. 9, 2023).
42
   Study of Two Water Plants, Tarawa Terrace – Montford Point (April 1979), at 2, available at https://tftptf.com/CLW
_Docs/CLW0188.pdf (last visited Jun. 27, 2023).
43
   Id.

                                                        26
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        127.    In March of 1980, the State of North Carolina assumed primary enforcement

responsibilities under the Safe Drinking Water Act for all public water systems in the state.

        128.    In October of 1980, concerned that the State of North Carolina might find problems

with Camp Lejeune’s potable water, LantNavFacEngCom initiated a surveillance program at

Camp Lejeune, intended to detect total trihalomethanes (“TTHMs”) in the water supply.

LantNavFacEngCom indicated that it would take a composite sample of all potable water supplies

and run a full spectrum analysis, with the understanding that if any potential problems were

identified, further testing would be conducted to locate the source. Both Jennings Laboratories and

the U.S. Army Environmental Hygiene Agency (“USAEHA”) were to conduct these tests.

        129.    On October 30, 1980, the United States received the results of this test from

Jennings Laboratories, showing the presence of TCE, DCE, and vinyl chloride.44

        130.    On the same date, the United States received the USAEHA test results. The results

included a handwritten warning: “Water is highly contaminated with low molecular weight

halogenated hydrocarbons. Strong interference in the region of ChCl2BR. Cannot determine the

value of that compound.”45

        131.    On December 18, 1980, additional samples were taken from the Hadnot Point area.

In a January 1981 analysis of these samples, the USAEHA laboratory services chief issued another

warning, reading: “Heavy Organic interference at CHCL2BR. You need to analyze for chlorinated

organics by GC/MS.”46




44
   Jennings Lab’ys, Inc., Certificate of Analysis (Oct. 31, 1980), available at https://tftptf.com/CLW_Docs/
CLW0430.pdf (last visited Aug. 9, 2023).
45
   TTHM Surveillance Report Form (Collected Oct. 21, 1980), available at https://tftptf.com/CLW_Docs/
CLW0436.pdf (last visited Aug. 9, 2023).
46
   TTHM Surveillance Report Form (Collected Dec. 29, 1980), available at https://tftptf.com/CLW_Docs/
CLW0438.pdf (last visited Aug. 9, 2023).

                                                    27
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        132.     On February 26, 1981, more samples were taken. In the results analyzed on March

9, 1981, the USAEHA laboratory services chief again warns: “Water is highly contaminated with

other chlorinated hydrocarbons (solvents)!”47

        133.     On August 27, 1981, the Commanding General of Camp Lejeune sent a letter to the

North Carolina state official, Mr. Rundgren. The letter discussed the analysis of the Rifle Range

water distribution system, as well as the upcoming Naval Assessment and Control of Installation

Pollutants (“NACIP”) Initial Assessment Study but withheld all information about the broader

TTHM testing and the multiple warnings of contamination.48

        134.     On January 14, 1982, in response to a memo from the Department of Defense, the

United States launched the NACIP Initial Assessment Study at Camp Lejeune. The objective of

this study was to identify, assess, and control contamination at military installations such as Camp

Lejeune.49

        135.     On April 19, 1982, the base began collecting water samples from each of the eight

water distribution systems, to be analyzed by Grainger. All information about prior detection of

contamination by Jennings Laboratories and ESAEHA was withheld from Grainger.50

        136.     On May 6, 1982, Grainger informed the United States that it had detected

chlorinated hydrocarbons in the samples from Hadnot Point and Tarawa Terrace.51




47
    TTHM Surveillance Report Form (Collected Feb. 26, 1981), available at https://tftptf.com/CLW_Docs/
CLW0443.pdf (last visited Aug. 9, 2023).
48
   Letter from C.G. Cooper, Major Gen. U.S. Marine Corps, to Charles E. Rundgren (Aug. 27, 1981), available at
https://tftptf.com/CLW_Docs/CLW6124.pdf (last visited Aug. 9, 2023).
49
   Memorandum from Officer in Charge, Dept. of the Navy, to Distribution (Jan. 14, 1982), available at https://
tftptf.com/CLW_Docs/CLW0455.pdf (last visited Aug. 9, 2023).
50
   Memorandum from Ms. Betz, Quality Control Lab, Envt’l. Section (Apr. 26, 1982), available at https://tftptf.
com/CLW_Docs/CLW0537.pdf (last visited Aug 9, 2023).
51
   Memorandum of Grainger Lab Call (May 6, 1982), available at https://tftptf.com/CLW_Docs/CLW0542.pdf (last
visited Aug 9, 2023).

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        137.     On July 28, 1982, additional samples were taken from Hadnot Point and Tarawa

Terrace and sent to Grainger. In the results analyzed on August 10, 1982, Grainger reported that

the chlorinated hydrocarbons were still detected, including identifying two specific contaminants:

TCE at 1,400 ppb and PCE at 104 ppb. This report indicated that these contaminants were at high

levels, such that they were “more important from a health standpoint than the total Trihalomethane

content.”52

        138.     On July 29, 1982, the supervisory base chemist, Elizabeth Betz, had a phone call

with the State of North Carolina. The two discussed reporting requirements as to total

trihalomethanes. Ms. Betz inquired about reporting requirements pertaining to secondary

contaminants, other than trihalomethanes, but did not mention that the United States had already

detected multiple contaminants at Camp Lejeune or inquire about the state’s view on any of these

specific contaminants.53

        139.     The United States has claimed that the Marine Corps shared information about the

contamination detected at Camp Lejeune with North Carolina state officials in August of 1982.

However, this position was later contradicted by documentary evidence and retracted. The United

States in fact withheld this information from the state for years.

        140.     In contrast, on August 18, 1982, the United States issued a memorandum purporting

to note that there were no problems detected in the Hadnot Point, Tarawa Terrace, or Holcomb

Boulevard water distribution systems, and reduced sampling in these areas from monthly to

quarterly.54



52
   Letter from Bruce A. Babson, Chemist to Commanding Gen. Marine Corps (Aug. 10, 1982), available at https://tftptf
.com/CLW_Docs/CLW0592.pdf (last visited Aug 9, 2023).
53
   Memorandum from Ms. Betz, Quality Control Lab, Envt’l. Section (July 29, 1982), available at https://tftptf.com/
CLW_Docs/CLW0587.pdf (last visited Aug 9, 2023).
54
   Memorandum from Ms. Betz, Quality Control Lab, Envt’l. Section (Aug. 18, 1982), available at https://tftptf.com/
CLW_Docs/CLW0605.pdf (last visited Aug 9, 2023).

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        141.     On August 25, 1982, the Commanding General of Camp Lejeune sent a letter via

his representative to the officer in charge of the NACIP Initial Assessment Study, recommending

obscuring evidence of contamination. His letter reads: “Discussion of Trihalomethane content of

Rifle Range on page 2-18 and extensive data shown on pages 6-12 through 6-18 overly stresses

relationship with hazardous materials/waste disposal. It is important to note that accuracy of data

provided by U.S. Army laboratory is questionable. It is recommended that TTHM information be

de-emphasized throughout the report.”55

        142.     A few weeks later, taking effect on October 1, 1982, the Natural Resources and

Environmental Affairs Branch—which had worked in conjunction with the NACIP scientists to

complete the Initial Assessment Study—was reassigned to report to the base Facilities Assistant

Chief of Staff, rather than operating within the Base Maintenance Division.56 This placed the

scientists studying contamination at Camp Lejeune under the control of base leadership.

        143.     On November 29, 1982, additional samples were taken from all eight water

distribution systems and sent to Grainger.57 In the results analyzed on December 9, 1982, Grainger

noted continued elevated levels of contamination.58 A Grainger scientist expressed concern over

these levels on a subsequent call discussing these results on December 21, 1982.59




55
   Letter from Commanding Gen. to Officer-in-Charge, Naval Energy and Envt’l. Support Activity (Aug. 25, 1982),
available at https://tftptf.com/CLW_Docs/CLW6332.pdf (last visited Aug 9, 2023).
56
   Letter from Assistant Chief of Staff, Facilities to Base Maintenance Officer (Oct. 1, 1982), available at https://
tftptf.com/CLW_Docs/CLW3882.pdf (last visited Aug 9, 2023).
57
    Trihalomethane Sampling Form (Collected Nov. 29, 1982), available at https://tftptf.com/CLW_Docs/CLW
0688.pdf (last visited Aug 9, 2023).
58
   Letter from Bruce A. Babson, Chemist, Grainger Laboratories, to Commanding General, Marine Corps Base (Dec.
9, 1982), available at https://tftptf.com/CLW_Docs/CLW0691.pdf (last visited Aug 9, 2023).
59
   Memorandum from Ms. Betz, Quality Control Lab, Envt’l. Section, to Mr. Sharpe, Supervisory Ecologist, Envt’l.
Section (Dec. 21, 1982), available at https://tftptf.com/CLW_Docs/CLW0698.pdf (last visited Aug 9, 2023).

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        144.     On December 13, 1982, the North Carolina Division of Health Services sent a letter

to Camp Lejeune, reminding of and requesting compliance with an earlier agreement as to annual

water testing, including for Total Organic Halogens.60

        145.     On February 24-25, 1983, additional samples were taken from all eight water

distribution systems and sent to Grainger.61 In the results analyzed on March 16, 1983, Grainger

noted continued elevated levels of contamination.62

        146.     On April 14, 1983, LantNavFacEngCom completed an Environmental Engineering

Survey for Camp Lejeune. Despite discussing the total trihalomethane testing which led to the

discovery of the elevated PCE and TCE levels, all mention of these detected contaminants was

omitted from the Survey.63

        147.     Also in April of 1983, the final draft of the NACIP Initial Assessment Study for

Camp Lejeune was published. The Study omitted discussion of any of the dangerous

contamination that had already been detected at Hadnot Point and Tarawa Terrace, with the only

discussion of TTHM and organic solvent contamination detection being in reference to the Rifle

Range water distribution system.

        148.     On May 31, 1983, additional samples were taken from all eight water distribution

systems and sent to Grainger. In the results analyzed on June 15, 1983, Grainger noted continued

elevated levels of contamination.64



60
   Letter from Gary D. Babb, Geologist, State of N. Carolina to Commanding General, U.S. Marine Corps (Dec. 13,
1982), available at https://tftptf.com/CLW_Docs/CLW3993.pdf (last visited Aug 9, 2023).
61
   Trihalomethane Sampling Form (Collected Feb. 24, 1983), available at https://tftptf.com/CLW_Docs/CLW
6393.pdf (last visited Aug 9, 2023).
62
   Letter from Bruce A. Babson, Chemist, Grainger Laboratories, to Commanding General, Marine Corps Base
(March 16, 1983), available at https://tftptf.com/CLW_Docs/CLW6393.pdf (last visited Aug 9, 2023).
63
   Memorandum from Commander, Atlantic Div. to Commander General Marine Corps Base (Apr. 14, 1983),
available at https://tftptf.com/CLW_Docs/CLW6141.pdf (last visited Aug 9, 2023).
64
   Letter from Bruce A. Babson, Laboratory Supervisor, Grainger Laboratories, to Commanding General, Marine
Corps Base (June 15, 1983), available at https://tftptf.com/CLW_Docs/CLW6380.pdf (last visited Aug 9, 2023).

                                                      31
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        149.     On June 1, 1983, the Facilities Assistant Chief of Staff sent a letter to the North

Carolina Division of Health Services containing information about the water sampling conducted

at Camp Lejeune. Instead of including copies of the original lab reports from Grainger, which

contained repeated warnings about contamination, the letter included only a compiled table of the

data contained in these reports.65

        150.     On June 21, 1983, the North Carolina Division of Health Services sent a response

letter to the Facilities Assistant Chief of Staff, indicating that the state required the original

analytical data received from Grainger.66 Upon information and belief, this push was because

officials at the North Carolina Division of Health Services had received a tip that the results were

concerning.

        151.     On July 27, 1983, additional samples were taken from all eight water distribution

systems and sent to Grainger.67 These samples were said to be lost in the mail.68 Upon information

and belief, these samples were not in the typical postal mail, but rather under special shipment, as

they were required to be transported on ice.

        152.     On August 25, 1983, additional samples were taken from all eight water distribution

systems and sent to Grainger.69 In the results analyzed on August 29, 1983, Grainger noted

continued elevated levels of contamination.70




65
   Letter from J.T. Marshall, Colonel, U.S. Marine Corps, to Charles E. Rundgren, Head, Div. of Health Services
(June 1, 1983), available at https://tftptf.com/CLW_Docs/CLW0934.pdf (last visited Aug 9, 2023).
66
   Letter from Wm. Larry Elmore, Envt’l. Eng’r, Div. of Health Services, to J.T. Marshall, Colonel, U.S. Marine (June
21, 1982), available at https://tftptf.com/CLW_Docs/CLW0940.pdf (last visited Aug 9, 2023).
67
   Trihalomethane Sampling Form (Collected July 27, 1983), available at https://tftptf.com/CLW_Docs/CLW6377.pdf
(last visited Aug 9, 2023).
68
   Id.
69
   Trihalomethane Info Form (Aug. 25, 1983), available at https://tftptf.com/CLW_Docs/CLW0949.pdf (last visited
Aug 9, 2023).
70
   Letter from Bruce A. Babson, Laboratory Supervisor, Grainger Laboratories, to Commanding General, Marine
Corps Base (Aug. 29, 1983), available at https://tftptf.com/CLW_Docs/CLW0952.pdf (last visited Aug 9, 2023).

                                                        32
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        153.     On December 12, 1983, the Facilities Assistant Chief of Staff sent a response letter

to the North Carolina Division of Health Services, including two additional tables explaining the

compiled results previously provided, but noting that the original analytical data from Grainger

was not included.71 Moreover, this letter stated that voluntary monitoring of most water

distribution systems had been discontinued and requested to reduce sampling at Hadnot Point to

once per year.72

        154.     On December 30, 1983, additional samples were taken from the Hadnot Point water

distribution system and sent to Grainger. In the results analyzed on January 18, 1984, Grainger

noted continued elevated levels of contamination.

        155.     On January 20, 1984, the North Carolina Division of Health Services sent a

response letter to the Facilities Assistant Chief of Staff, granting permission to reduce sampling at

Hadnot Point to one sample, once per quarter.73

        156.     On or about April 1, 1984, one sample was collected from the Hadnot Point water

distribution system and sent to Grainger. In the results analyzed on April 9, 1984, Grainger noted

continued elevated levels of contamination.

        157.     In July of 1984, the United States collected samples from the Hadnot Point

Industrial Area, including nearby supply well HP-602. Benzene was detected at 380 ppb and DCE

was detected at 46 ppb.




71
   Letter from M.G. Lilley, Colonel, U.S. Marine Corps, to Charles E. Rundgren, Div. of Health Services (Dec. 12,
1983), available at https://tftptf.com/CLW_Docs/CLW6348.pdf (last visited Aug 9, 2023).
72
   Id.
73
   Letter from Charles E. Rundgren, Head, Div. of Health Services, to Colonel M.G. Lilley, U.S. Marine Corps (Jan.
20, 1984), available at https://tftptf.com/CLW_Docs/CLW0977.pdf (last visited Aug 9, 2023).

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        158.     Also in July of 1984, the United States collected samples from eight wells in the

Tawara Terrace water distribution system. Three of these wells were found to contain

contamination, including TCE.

        159.     On or about July 1, 1984, one sample was collected from the Hadnot Point water

distribution system and sent to Grainger. In the results analyzed on July 10, 1984, Grainger noted

continued elevated levels of contamination.

        160.     On November 30, 1984, supply well HP-602 was shut down.74 Despite the

numerous and widespread detections of contamination over more than four years, this was the first

action taken to address the contaminated water supply at Camp Lejeune.

        161.     On December 3, 1984, supply well HP-602 was sampled again.75 Detected

contaminants included PCE at 24 ppb, TCE at 1,600 ppb, DCE at 630 ppb, and benzene at 121

ppb.76 For decades, the United States insisted that this sample was the reason supply well HP-602

was shut down, but it was later revealed that this sample wasn’t collected until days after HP-602

was shut down on November 30, 1984.

        162.     Other wells in the Hadnot Point water distribution system were also sampled on the

same day. In the results analyzed on December 6, 1984, TCE contamination was detected in wells

HP-601, HP-603, and HP-608, as well as in the finished water at the Hadnot Point water treatment

plant.77 Supply wells HP-601 and HP-608 were closed at this time.78




74
   Memorandum from Utilities Systems General Forman to Director, Utilities Branch (July 27, 1987), available at
https://tftptf.com/CLW_Docs/CLW4971.pdf (last visited Aug 9, 2023).
75
    Telephone Conversation Record (Dec. 6, 1984), available at https://www.tftptf.com/CERCLA/00250.pdf (last
visited Aug 9, 2023).
76
    Hadnot Point Water Treatment Plant Results (Dec. 4, 1984), available at https://tftptf.com/CLW_Docs/CLW
1054.pdf (last visited Aug 9, 2023).
77
   Id.
78
   Memorandum from M.P. Bell, Regional Eng’r, Div. of Health Services, to Charles E. Rundgren, Head, Div. of
Health Services (Dec. 11, 1984), available at https://tftptf.com/CLW_Docs/CLW1051.pdf (last visited Aug 9, 2023).

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        163.     On December 4, 1984, even more samples were collected from supply wells in the

Hadnot Point water distribution system. In the results analyzed on December 10, 1984,

contamination was again confirmed in supply wells HP-601, HP-602, HP-603, and HP-608, and

detected in HP-634, HP-637, and HP-642.

        164.     On December 10, 1984, Camp Lejeune Base Environmental Engineer Robert

Alexander contacted the State of North Carolina and admitted that volatile organic compounds had

been detected in the Camp Lejeune water supply.79

        165.     Two days later, on December 12, 1984, Mr. Alexander was quoted in a news article

saying that “every effort will be made to maintain the excellent quality water supply traditionally

provided to residents of Camp Lejeune.”80

        166.     On December 14, 1984, supply wells HP-634 and HP-637 were shut down.81

        167.     On January 14, 1985, Environmental Science and Engineering released a NACIP-

related report on the contamination observed at Camp Lejeune.82 However, a number of important

documents contemplated in the schedule appear to be now missing, including the monthly NACIP

progress reports for August through November of 1984, an evaluation of data, and a draft report.

        168.     On January 25, 1985, samples were collected from Tarawa Terrace supply wells

TT-23 and TT-26. In the results analyzed on February 5, 1985, levels of PCE at 132 ppb, TCE at

5.8 ppb, and DCE at 11 ppb were detected in TT-23, and levels of PCE at 1580 ppb, TCE at 57

ppb, DCE at 92 ppb, and vinyl chloride at 27 ppb were detected in TT-26. Supply well TT-26 was



79
   Id.
80
   Globe Staff, Camp Lejeune water testing underway, The Globe (Dec. 12, 1984), available at https://www.tftptf
.com/CERCLA/00523.pdf (last visited Aug 9, 2023).
81
   Summary of VOC, Chloride, and Flouride Analysis for Hadnot Point and Holcomb Blvd., available at https://tftptf
.com/CLW_Docs/CLW1647.pdf (last visited Aug 9, 2023).
82
   Environmental Science and Engineering, Inc., Evaluation of Data from First Round of Verification of Sample
Collection and Analysis (Jan. 14, 1985), available at https://tftptf.com/Misc/Timeline_Linked_March_2012.pdf (last
visited Aug 9, 2023).

                                                       35
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closed at this time. Supply well TT-23 was also closed at this time, but only temporarily. Due to a

recurring water supply shortage in the Tarawa Terrace water distribution system, TT-23 was

reactivated on a number of occasions.

        169.     On January 27, 1985, a fuel leak was detected at the Holcomb Boulevard water

treatment plant.83 The plant was taken offline, the reservoir was drained, and the bypass valves

between the Hadnot Point and Holcomb Boulevard water distribution systems were activated.84

The Hadnot Point water distribution system provided all water needed for the Holcomb Boulevard

water distribution system until February 4, 1985.85

        170.     On January 31, 1985, the State of North Carolina collected water samples from the

Holcomb Boulevard water treatment plant to determine whether the fuel leak had been resolved.86

In the results analyzed on February 4, 1985, no fuel product was found, but TCE was detected

throughout the Holcomb Boulevard water distribution system.

        171.     On February 4, 1985, the Holcomb Boulevard water distribution system was

reactivated, and both the Holcomb Boulevard and Hadnot Point water distribution systems were

flushed.87

        172.     On the same date, results were received from a January 16, 1985, sample of Hadnot

Point supply wells.88 HP-651 was identified as having high levels of contaminants, including PCE

at 386 ppb, TCE at 3,200 ppb, DCE at 3,400 ppb, and vinyl chloride at 655 ppb.89 Supply well HP-




83
   Operator Log (Jan. 27, 1985), available at https://tftptf.com/CLW_Docs/CLW4514.pdf (last visited Aug 9, 2023).
84
   Chronology (Feb. 26, 1985), available at https://tftptf.com/CLW_Docs/CLW4546.pdf (last visited Aug 9, 2023).
85
   Id.
86
   Operator Log (Jan. 27, 1985), available at https://tftptf.com/CLW_Docs/CLW4514.pdf (last visited Aug 9, 2023).
87
   Chronology (Feb. 26, 1985), available at https://tftptf.com/CLW_Docs/CLW4546.pdf (last visited Aug 9, 2023).
88
   Report #17 Laboratory Analysis on Naval Samples (Feb. 6, 1985), available at https://tftptf.com/CLW_Docs/CLW
5594.pdf (last visited Aug 9, 2023).
89
   Id.

                                                       36
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651 was closed at this time.90 Supply wells HP-652 and HP-653 also showed contamination in

these results, although at much lower levels, and were closed on February 8, 1985.91

         173.    On February 7, 1985, finished water at the Berkeley Manor Elementary School,

serviced by the Holcomb Boulevard water distribution system, continued to test at 135.1 ppb of

TCE.92

         174.    On February 8, 1985, supply wells HP-652 and HP-653 were shut down.93

         175.    On February 22, 1985, after closing all of the supply wells noted above, finished

water from the Hadnot Point water treatment plant tested at 1 ppb of TCE.94

         176.    On March 1, 1985, the Facilities Assistant Chief of Staff provided an action brief

discussing potential solutions to an anticipated water shortage at Tarawa Terrace, due to the closure

of supply wells TT-23 and TT-26. One option presented was to build a water line to draw water

from another water distribution system; this option was selected but was not implemented until

years later. Another option was to re-activate wells known to be contaminated when needed to

maintain supply, because “the potential health hazards must be weighed against the need and cost

of providing water from other sources.”95

         177.    On March 8, 1985, supply well HP-651 was retested, yielding high contamination

levels, including 400 ppb of PCE, 18,900 ppb of TCE, 7,580 ppb of DCE, and 168 ppb of vinyl

chloride.96



90
   Chronology (Feb. 26, 1985), available at https://tftptf.com/CLW_Docs/CLW4546.pdf (last visited Aug 9, 2023).
91
   Id.
92
   Analysis Report (Feb. 7, 1985), available at https://tftptf.com/CLW_Docs/CLW5369.pdf (last visited Aug 9, 2023).
93
   Well History (Feb. 8, 1985), available at https://tftptf.com/CLW_Docs/CLW5095.pdf (last visited Aug 9, 2023).
94
   G C Report Sheet (Feb. 22, 1985), available at https://tftptf.com/CLW_Docs/CLW4533.pdf (last visited Aug 9,
2023).
95
   Action Brief from M.G. Lilley (Mar. 1, 1985), available at https://tftptf.com/CLW_Docs/CLW1129.pdf (last visited
Aug 9, 2023).
96
   Volatile Organic Chemical Analysis Reports (Mar. 8, 1985), available at https://tftptf.com/Misc/Timeline_Linked
_March_2012.pdf (last visited Aug 9, 2023).

                                                        37
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        178.     On March 21, 1985, a meeting was held to discuss the options to address the water

shortage at Tarawa Terrace. Because the use of water from the contaminated wells was deemed to

not pose an “extreme health threat” to recipients of the contaminated water, as-needed use of the

contaminated water was approved.97

        179.     In September of 1985, supply well TT-25 was found to be contaminated with PCE.

        180.     On November 19, 1985, the water at the Hadnot Point water treatment plant was

found to contain 2,500 ppb of benzene.98 This is 500 times the level of benzene exposure permitted

by the EPA’s current MCLs. In the results summary of this sample, a handwritten note dismissed

this finding as “not representative”.99

        181.     On December 10, 1985, the water at the Hadnot Point water treatment plant was

still found to contain 38 ppb of benzene.100

        182.     On January 13, 1987, Hadnot Point supply well HP-645 was shut down due to

benzene contamination. Despite the numerous detections of benzene, benzene contamination was

dismissed on the grounds of quality control errors. This contamination was discounted and not

properly investigated, despite later revelations that there was a significant fuel leakage at the fuel

farm.

        183.     On January 14, 1987, Tarawa Terrace supply well TT-25 was closed.

        184.     After the first detection of water contamination in October of 1980, it took more

than six years for the United States to identify, acknowledge, and address the poisonous water

supply at Camp Lejeune.


97
   Meeting Notes: Volatile Organic Chemicals (VOC) in the Camp Lejeune Water Supply (Mar. 21, 1985), available
at https://tftptf.com/CLW_Docs/CLW6596.pdf (last visited Aug 9, 2023).
98
   Memorandum from Director, Natural Resources and Environmental Affairs Division, to Environmental Engineer,
Facilities Department (Jan. 24, 1986), available at https://tftptf.com/CLW_Docs/CLW1406.pdf (last visited Aug 9,
2023).
99
   Id.
100
    Id.

                                                      38
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       185.    Over the years and decades that followed, there have been a number of significant

studies conducted to identify the massive, life-changing, and widespread harm caused by this

contaminated water. These studies were hindered for years by the United States withholding

information.

       186.    By 1994, the ATSDR was writing letters to the Marine Corps complaining of a lack

of cooperation and access to important records for researching the extent of contamination and

health impacts.

       187.    In 1997, on behalf of the United States, the ATSDR published a public health

assessment on the water contamination at Camp Lejeune. In 2009, the ATSDR retracted this public

health assessment, due in large part to hidden information coming to light. This was the first time

in the history of the ATSDR that a public health assessment was retracted.

       188.    In 2007, the Government Accountability Office issued a report reviewing the

ATSDR’s attempt to study the contamination. This report is recognized to be flawed because it

evaluated the 1997 ATSDR public health assessment which was later retracted, and thus did not

include the new information leading to the retraction.

       189.    In 2009, the National Research Council published a report on the water

contamination at Camp Lejeune. This report was structured by the Navy and has been widely

criticized as overlooking key data and having significant gaps in reasoning.

       190.    Also in 2009, ATSDR staff gained access to a previously undisclosed electronic

database containing more than 700,000 pages of Navy and Marine Corps documents about

contamination at Camp Lejeune. Among these documents, the ATSDR found information

documenting that as much as 1.1 million gallons of fuel were lost into the ground at Hadnot Point.

Prior to this information being learned, the United States had insisted that no more than 50,000



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gallons had been lost. This newly found data was a major factor leading to the retraction of the

ATSDR’s 1997 public health assessment.

        191.     The U.S. House of Representatives Committee on Science and Technology,

Subcommittee on Investigations and Oversight, recognized that “[i]t is difficult to provide clear

scientific analyses when you cannot be certain that the records you are relying on for that analysis

are complete.”101

        192.      For at least three of the contaminants at issue, there are actual measurements of

contamination levels that are even more elevated than the highest projected measurements of the

reconstructed models contained in ATSDR reports.102

        193.     Because key information was withheld from early investigators, which led to

crucial delays, or was otherwise withheld, lost, or destroyed over time, the full extent of

contamination at Camp Lejeune may be even greater than what studies to date have identified.

        194.     Plaintiffs reserve the right to seek a spoliation instruction.




101
    H.R. Rep. No. 111-108 (2010), at 6, available at https://www.govinfo.gov/content/pkg/CHRG-111hhrg58485/pdf/
CHRG-111hhrg58485.pdf (last visited Aug. 9, 2023).
102
    Compare Agency for Toxic Substances and Disease Registry (ATSDR), Ctrs. for Disease Control and Prevention,
Dep’t of Health and Hum. Servs., Chemicals at Camp Lejeune (FAQs), https://www.atsdr.cdc.gov/
sites/lejeune/faq_chemicals.html (last visited Jun. 27, 2023) (“The maximum level [of PCE] detected in
drinking water was 215 parts per billion…”) with ATSDR Reconstruction App’x A2 at A92, available at
https://www.atsdr.cdc.gov/sites/lejeune/docs/Reconstructed%20TTWTP%20Concentrations_ATSDR_Chapter%20
A%20Report_Camp%20Lejeune.pdf (last visited Jun. 27, 2023) (highest simulated PCE level in Tarawa Terrace
finished water was 182.13 ppb); compare Agency for Toxic Substances and Disease Registry (ATSDR), Ctrs. for
Disease Control and Prevention, Dep’t of Health and Hum. Servs., Chemicals at Camp Lejeune (FAQs),
https://www.atsdr.cdc.gov/sites/lejeune/faq_chemicals.html (last visited Jun. 27, 2023) (“The maximum level [of
TCE] detected in drinking water was 1,400 [ppb]…”) with ATSDR Reconstruction App’x A7 at A168, available at
https://www.atsdr.cdc.gov/sites/lejeune/docs/Reconstructed%20HPWTP%20Concentrations_ATSDR_Chapter%20
A%20Report_Camp%20Lejeune.pdf (last visited Jun. 27, 2023) (highest simulated TCE level in Hadnot Point
finished water was 783 ppb); compare H.R. Rep. No. 111-108 (Sept. 16, 2010), at 35, available at
https://www.govinfo.gov/content/pkg/CHRG-111hhrg58485/pdf/CHRG-111hhrg58485.pdf (last visited Jun. 27,
2023). (“...the treated water at the Hadnot Point [water treatment plant] was sampled and found to contain benzene in
the extreme amount of 2,500 ppb.”) with ATSDR Reconstruction App’x A7 at A168, available at
https://www.atsdr.cdc.gov/sites/lejeune/docs/Reconstructed%20HPWTP%20Concentrations_ATSDR_Chapter%20
A%20Report_Camp%20Lejeune.pdf (last visited Jun. 27, 2023) (highest simulated benzene level in Hadnot Point
finished water was 12 ppb).

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       B.      PLAINTIFFS’ INJURIES

            195.   During the relevant time period, Plaintiffs used water from the Hadnot Point water

distribution system, the Holcomb Boulevard water distribution system, the Tarawa Terrace water

distribution system, and/or the Camp Johnson water distribution system, exposing Plaintiffs to

unsafe amounts of contaminated water.

            196.   During the relevant time period, many Plaintiffs used water from water buffaloes

which were filled with water from the Hadnot Point water distribution system and/or other

contaminated sources, exposing Plaintiffs to unsafe amounts of contaminated water.

            197.   The above conduct caused the Plaintiffs to sustain personal injuries or death, as

more particularly alleged in Plaintiffs’ Short Form Complaints.

            198.   At the current time, the Unites States has conceded that exposure to the

contaminated water at Camp Lejeune meets an equipoise or greater standard for certain diseases,

including but not limited to kidney cancer, liver cancer, bladder cancer, non-Hodgkin’s lymphoma,

multiple myeloma, acute lymphocytic leukemia, chronic lymphocytic leukemia, chronic myeloid

leukemia, other forms of leukemia, Parkinson’s disease, end-stage renal disease, scleroderma,

systemic sclerosis, cardiac birth defect, aplastic anemia, and myelodysplastic syndrome.103

            199.   Upon information and belief, during the relevant time period, in addition to the

specific contaminants alleged above, there have been one or more additional contaminants in the

water at Camp Lejeune that have not yet been studied, are being studied, or have not yet been made

publicly available but that are believed to be the cause of additional medical and/or psychological

conditions and/or diseases of Plaintiffs.




103
      See generally ATSDR Evidence Assessment.

                                                   41
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        200.   Moreover, there is ample scientific evidence as of today demonstrating that

exposure to the contaminated water at Camp Lejeune meets an equipoise or greater standard of

causation for other cancers and non-cancer diseases. Upon information and belief, additional

studies are also underway that are reviewing the causal link between the contaminants at Camp

Lejeune and other conditions and/or diseases.

        201.   There is a sufficient causal link between Plaintiffs’ injuries and the toxic water

Plaintiffs were exposed to at or from Camp Lejeune.

        202.   As a direct and proximate result of Plaintiffs’ exposure to toxic water at or from

Camp Lejeune, Plaintiffs have been forced to endure significant physical and mental pain and

suffering and to undergo significant and extensive medical treatment, and in some instances caused

their death.

        203.   Further, as a result of Plaintiffs’ exposure to toxic water at or from Camp Lejeune,

Plaintiffs have suffered other damages. These damages include, but are not limited to: medical

expenses, medication expenses, medical supply expenses, transportation expenses related to

medical treatment, food expenses related to medical treatment, lost income, and other damages as

further detailed in each Plaintiff’s Short Form Complaint.

VI.     COUNT 1: RELIEF UNDER THE CAMP LEJEUNE JUSTICE ACT

        204.   Plaintiffs incorporate by reference each of the allegations 1 through 203 above.

        205.   The CLJA provides that:

        An individual, including a veteran (as defined in section 101 of title 38, United
        States Code), or the legal representative of such an individual, who resided, worked,
        or was otherwise exposed (including in utero exposure) for not less than 30 days
        during the period beginning on August 1, 1953, and ending on December 31, 1987,
        to water at Camp Lejeune, North Carolina, that was supplied by, or on behalf of,
        the United States may bring an action in the United States District Court for the
        Eastern District of North Carolina to obtain appropriate relief for harm that was
        caused by exposure to the water at Camp Lejeune.


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        206.    Plaintiffs were on the Marine Corps base at Camp Lejeune sometime during the

period between August 1, 1953, and December 31, 1987, and were exposed to the contaminated

water at or from Camp Lejeune.

        207.    Each Plaintiff’s exposure to water at or from Camp Lejeune totaled not less than 30

days between August 1, 1953, and December 31, 1987.

        208.    The water Plaintiffs were exposed to at or from Camp Lejeune during this time was

supplied by, or on behalf of, Defendant United States.

        209.    The water Plaintiffs were exposed to at or from Camp Lejeune was polluted and

contaminated with chemicals and volatile organic compounds including but not limited to PCE,

TCE, DCE, vinyl chloride, and benzene.

        210.    As a result of Plaintiffs’ exposure to polluted and contaminated water at or from

Camp Lejeune, Plaintiffs suffered and will continue to suffer serious harm or Plaintiffs have died.

        211.    This harm was caused by exposure to the water at or from Camp Lejeune.

        212.    There is ample scientific evidence demonstrating that exposure to the contaminated

water at or from Camp Lejeune meets an equipoise or greater standard of causation for Plaintiffs’

injuries or death.

        213.    Plaintiffs have filed administrative claims with the Navy addressing the issues

raised in their Short Form Complaints. Plaintiffs’ administrative claims have either (a) received a

final denial or (b) been deemed a final denial because six months have passed since the claims

were filed with the Navy and they remain without a final disposition.

        214.    Under the CLJA, Plaintiffs suffered harm or death as a result of exposure to the

water at or from Camp Lejeune and are entitled to appropriate relief.




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VII.   CLAIM FOR RELIEF

       Plaintiffs respectfully request that the Court enter judgment against the United States under

the CLJA and award damages and all other appropriate relief for the harm that they have endured

as a result of exposure to contaminated and unsafe water at or from Camp Lejeune, including but

not limited to personal injuries or death, along with all related costs and damages.

VIII. JURY TRIAL DEMAND

       Pursuant to Fed. R. Civ. P. 38 and CLJA § 804(d), Plaintiffs demand a trial by jury.



 Dated: October 6, 2023

                                                      Respectfully submitted,

 /s/ J. Edward Bell, III                              /s/ Zina Bash
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